                                                                                            NORTH CAROLINA WESTERN
      To: The Honorable Martin Reidinger                                                             MEMORANDUM
            U.S. District Court Judge
   From: Christine Puhl
            U.S. Probation Officer
 Subject: Steven Lynn Milam
            Case Number: 0419 1:05CR00023- 011
            REQUEST TO DESTROY SEIZED PROPERTY
   Date: 5/15/2014


On date 4/13/2012, USPO Eric Simpson confiscated 2 guns, a 30-06 magazine, and three rounds of 30-06 ammunition
from the offender’s residence. Disposition of the weapons has been resolved, but no order was given for destruction of
the ammunition or magazine. Steve Milam is no longer under supervision and it has been deemed advisable that the
Probation Office request the destruction of the magazine and ammunition at this time.

Thank you for your time and attention to this matter. Please do not hesitate to contact me at 828-771-7350, should you
have any questions.




THE COURT ORDERS:

☒ Destroy Seized Property as Requested
☐ Do Not Destroy Seized Property
☐ Return Seized Property to the Defendant

                                                                      Date: May 15, 2014




            Case 1:05-cr-00023-MR-WCM                Document 412         Filed 05/15/14       Page 1 of 1
